          Case 5:20-cv-00377-JMG Document 6 Filed 02/25/20 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JANE DOE,                                 :
                  Plaintiff,              :
                                          :
            v.                            :                No. 5:20-cv-00377-JMG
                                          :
MORAVIAN COLLEGE;                         :
ROLAND CASH-MABRY;                        :
ROBERTO DIAZ; and                         :
DOMINIC HARRIS, also known as             :
DOM HARRIS; INDIVIDUALLY                  :
AND JOINTLY,                              :
                  Defendants.              :
__________________________________________

                                           ORDER

       AND NOW, this 25th day of February, 2020, upon consideration of Defendant Moravian

College’s Motion to Dismiss filed on January 22, 2020, see ECF No. 2, and of Plaintiff’s

Amended Complaint filed on February 14, 2020, see ECF No. 4, IT IS HEREBY ORDERED

THAT:

       The Motion to Dismiss, ECF No. 2, is DENIED as moot.




                                                   BY THE COURT:



                                                   /s/ John M. Gallagher
                                                   JOHN M. GALLAGHER
                                                   United States District Court Judge
